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                                             L.B.F. 3015.1

                             UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF PENNSYLVANIA

In re:                                           Case No.:        19-16887        -AMC

 Margaret A. Piatkowski
                                                 Chapter:        13

                Debtor(s)
                                         Chapter 13 Plan
         ✔ ORIGINAL



Date:    11/15/2019

                            THE DEBTOR HAS FILED FOR RELIEF UNDER
                             CHAPTER 13 OF THE BANKRUPTCY CODE

                                  YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which
contains the date of the confirmation hearing on the Plan proposed by the Debtor. This document is the
actual Plan proposed by the Debtor to adjust debts. You should read these papers carefully and discuss
them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY PROVISION OF THIS PLAN
MUST FILE A WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule 3015-4.
This Plan may be confirmed and become binding, unless a written objection is filed.

                 IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                             NOTICE OF MEETING OF CREDITORS.

Part 1: Bankruptcy Rule 3015.1(c) Disclosures

    Plan contains non-standard or additional provisions – see Part 9
    Plan limits the amount of secured claim(s) based on value of collateral – see Part 4
    Plan avoids a security interest or lien – see Part 4 and/or Part 9

Part 2: Plan Payment, Length and Distribution – PARTS 2(c) & 2(e) MUST BE COMPLETED IN EVERY
CASE
     § 2(a)(1) Initial Plan:
        Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $ ______________
                                                                               31,801.00
         Debtor shall pay the Trustee $ _________
                                        530.00    per month for ____
                                                                 59 months; and
         Debtor shall pay the Trustee $ _________
                                        531.00    per month for ____
                                                                 1     months.
        Other changes in the scheduled plan payment are set forth in § 2(d)    None

     § 2(a)(2) Amended Plan:
         Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $ ______________
     The Plan payments by Debtor shall consists of the total amount previously paid ($_______) added
to the new monthly Plan payments in the amount of $                beginning               (date) and
continuing for      months.
        Other changes in the scheduled plan payment are set forth in § 2(d)     None



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     § 2(b) Debtor shall make plan payments to the Trustee from the following sources in addition
to future wages (Describe source, amount and date when funds are available, if known):     (none)

contribution from son

    § 2(c) Alternative treatment of secured claims:
            None. If “None” is checked, the rest of § 2(c) need not be completed.

            Sale of real property
            See § 7(c) below for detailed description

            Loan modification with respect to mortgage encumbering property:
            See § 4(f) below for detailed description

    § 2(d) Other information that may be important relating to the payment and length of Plan:


    § 2(e) Estimated Distribution:
       A. Total Priority Claims (Part 3)
             1.   Unpaid attorney’s fees                                  $ 3,410.00
             2.   Unpaid attorney’s costs                                 $ 0.00
             3.   Other priority claims (e.g., priority taxes)            $ 0.00
        B. Total distribution to cure defaults (§ 4(b))                   $ 25,000.00
        C. Total distribution on secured claims (§§ 4(c) &(d))            $ 500.00
        D. Total distribution on unsecured claims (Part 5)                $ 0.00
                                             Subtotal                     $ 28,910.00
                                                                                                  % as
        E. Estimated Trustee’s Commission                                 $ 2,891.00              decimal
                                                                                                            10.00%

        F. Base Amount                                                    $ 31,801.00


Part 3: Priority Claims (Including Administrative Expenses & Debtor’s Counsel Fees)


     § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full unless
the creditor agrees otherwise:

 Creditor                              Type of Priority                       Estimated Amount to be Paid

 Counsel for debtor                     Debtor's Counsel Fees 507(a)(2)       $3,410.00

 Chapter 13 Standing Trustee            Administrative                        $2,891.00




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    § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid less
than full amount
            None. If “None” is checked, the rest of § 3(b) need not be completed.

          The allowed priority claims listed below are based on a domestic support obligation that has been
 assigned to or is owed to a governmental unit and will be paid less than the full amount of the claim. This plan
 provision requires that payments in § 2(a) be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).


 Name of Creditor                                                     Amount of claim to be paid




Part 4: Secured Claims


      § 4(a) Secured claims not provided for by the Plan:
        ✔    None. If “None” is checked, the rest of § 4(a) need not be completed.
 Creditor                                                      Secured Property

     If checked, debtor will pay the creditor(s) listed below
 directly in accordance with the contract terms or otherwise by
 agreement.                                             Mntly pmts



     If checked, debtor will pay the creditor(s) listed below
 directly in accordance with the contract terms or otherwise by
 agreement.
                                                         Mntly pmts




  ✔   § 4(b) Curing default and maintaining payments
             None. If “None” is checked, the rest of § 4(b) need not be completed.
     The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition arrearages; and, Debtor
  shall pay directly to creditor monthly obligations falling due after the bankruptcy filing in accordance with the
  parties’ contract.

  Creditor               Description of            Current Monthly         Estimated      Interest Rate   Amount to be
                         Secured                   Payment to be           Arrearage      on Arrearage,   Paid to
                         Property and              paid directly to                       if applicable   Creditor by the
                         Address, if real          creditor by                            (%)             Trustee
                         property                  Debtor
 Bank of America 3514 Sussex Lane $ 1,285.00                              $ 25,000.00     0.0             $ 25,000.00




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  ✔ § 4(c) Allowed secured claims to be paid in full: based on proof of claim or pre-confirmation
determination of the amount, extent or validity of the claim
            None. If “None” is checked, the rest of § 4(c) need not be completed.

        (1) Allowed secured claims listed below shall be paid in full and their liens retained until completion
of payments under the plan.

           (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed to
determine the amount, extent or validity of the allowed secured claim and the court will make its determination
prior to the confirmation hearing.

        (3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a general
unsecured claim under Part 5 of the Plan or (B) as a priority claim under Part 3, as determined by the court.

          (4) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C.
§ 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different
interest rate or amount for “present value” interest in its proof of claim or otherwise disputes the amount provided for
“present value” interest, the claimant must file an objection to confirmation.

         (5) Upon completion of the Plan, payments made under this section satisfy the allowed secured claim and
release the corresponding lien.


                           Description of
 Name of Creditor          Secured Property            Allowed            Present     Dollar Amount        Total
                           and Address, if real        Secured            Value       of Present           Amount to
                           property                    Claim              Interest    Value Interest       be paid
                                                                          Rate
 Water Revenue Bureau       3514 Sussex Lane           $ 500.00          0.00         $ 0.00               $ 500.00




     § 4(d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506
      ✔   None. If “None” is checked, the rest of § 4(d) need not be completed.

     The claims below were either (1) incurred within 910 days before the petition date and secured by a purchase
money security interest in a motor vehicle acquired for the personal use of the debtor(s), or (2) incurred within 1 year
of the petition date and secured by a purchase money security interest in any other thing of value.

      (1) The allowed secured claims listed below shall be paid in full and their liens retained until completion of
payments under the plan.

         (2) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C.
§ 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different interest
rate or amount for “present value” interest in its proof of claim, the court will determine the present value interest rate
and amount at the confirmation hearing.

Name of Creditor            Collateral         Amount of          Present Value       Estimated total payments
                                               Claim              Interest
                                                                           %          $

                                                                             %        $




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     § 4(e) Surrender
            None. If “None” is checked, the rest of § 4(e) need not be completed.

            (1) Debtor elects to surrender the secured property listed below that secures the creditor’s claim.
            (2) The automatic stay under 11 U.S.C. § 362(a) and 1301(a) with respect to the secured property
terminates upon confirmation of the Plan.
            (3) The Trustee shall make no payments to the creditors listed below on their secured claims.

 Creditor                                                       Secured Property




     § 4(f) Loan Modification
        ✔   None. If “None” is checked, the rest of § 4(f) need not be completed.
       (1) Debtor shall pursue a loan modification directly with                      or its successor in interest or its
 current servicer (“Mortgage Lender”), in an effort to bring the loan current and resolve the secured arrearage claim.

        (2) During the modification application process, Debtor shall make adequate protection payments directly to
 Mortgage Lender in the amount of $             per month, which represents
 (describe basis of adequate protection payment). Debtor shall remit the adequate protection payments directly
 to the Mortgage Lender.

       (3) If the modification is not approved by               (date), Debtor shall either (A) file an amended Plan to
 otherwise provide for the allowed claim of the Mortgage Lender; or (B) Mortgage Lender may seek relief from the
 automatic stay with regard to the collateral and Debtor will not oppose it.



Part 5: General Unsecured Claims

     § 5(a) Separately classified allowed unsecured non-priority claims
       ✔    None. If “None” is checked, the rest of § 5(a) need not be completed.

                             Basis for Separate
 Creditor                    Classification             Treatment                     Amount of            Amount to
                                                                                      Claim                be paid




     § 5(b) Timely filed unsecured non-priority claims
           (1) Liquidation Test (check one box)
               ✔ All Debtor(s) property is claimed as exempt.

                   Debtor(s) has non-exempt property valued at $            for purposes of § 1325(a)(4) and plan
provides for distribution of $                    to allowed priority and unsecured general creditors.

             (2) Funding: § 5(b) claims to be paid as follows (check one box):
                 ✔
                   Pro rata
                   100%
                   Other (Describe)



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Part 6: Executory Contracts & Unexpired Leases


         None. If “None” is checked, the rest of § 6 need not be completed.             Show Part 6

 Creditor                              Nature of Contract or Lease          Treatment by Debtor Pursuant to §365(b)




Part 7: Other Provisions

     § 7(a) General principles applicable to the Plan
        (1) Vesting of Property of the Estate (check one box)
                  ✔ Upon confirmation


                    Upon discharge

       (2) Subject to Bankruptcy Rule 3012, the amount of a creditor’s claim listed in its proof of claim controls over
any contrary amounts listed in Parts 3, 4 or 5 of the Plan.

        (3) Post-petition contractual payments under § 1322(b)(5) and adequate protection payments under §
1326(a)(1)(B),(C) shall be disbursed to the creditors by the debtor directly. All other disbursements to creditors shall
be made by the Trustee.

           (4) If Debtor is successful in obtaining a recovery in a personal injury or other litigation in which Debtor is the
plaintiff, before the completion of plan payments, any such recovery in excess of any applicable exemption will be
paid to the Trustee as a special Plan payment to the extent necessary to pay priority and general unsecured
creditors, or as agreed by the Debtor and the Trustee and approved by the court.

    § 7(b) Affirmative duties on holders of claims secured by a security interest in debtor’s
principal residence

        (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to such
arrearage.

         (2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage
obligations as provided for by the terms of the underlying mortgage note.

         (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole
purpose of precluding the imposition of late payment charges or other default-related fees and services based on the
pre-petition default or default(s). Late charges may be assessed on post-petition payments as provided by the terms
of the mortgage and note.

         (4) If a secured creditor with a security interest in the Debtor’s property sent regular statements to the Debtor
pre-petition, and the Debtor provides for payments of that claim directly to the creditor in the Plan, the holder of the
claims shall resume sending customary monthly statements.

        (5) If a secured creditor with a security interest in the Debtor’s property provided the Debtor with coupon
books for payments prior to the filing of the petition, upon request, the creditor shall forward post-petition coupon
book(s) to the Debtor after this case has been filed.

       (6) Debtor waives any violation of stay claim arising from the sending of statements and coupon
books as set forth above.



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     § 7(c) Sale of Real Property (to propose sale, check 2(c) above)
        ✔   None. If “None” is checked, the rest of § 7(c) need not be completed.

         (1) Closing for the sale of                                   (the “Real Property”) shall be completed
 within       months of the commencement of this bankruptcy case (the “Sale Deadline”). Unless otherwise
 agreed by the parties or provided by the Court, each allowed claim secured by the Real Property will be paid in full
 under §4(b)(1) of the Plan at the closing (“Closing Date”).

            (2) The Real Property will be marketed for sale in the following manner and on the following terms:




           (3) Confirmation of this Plan shall constitute an order authorizing the Debtor to pay at settlement all
 customary closing expenses and all liens and encumbrances, including all §4(b) claims, as may be necessary to
 convey good and marketable title to the purchaser. However, nothing in this Plan shall preclude the Debtor from
 seeking court approval of the sale of the property free and clear of liens and encumbrances pursuant to 11 U.S.C
 363(f), either prior to or after confirmation of the Plan, if, in the Debtor’s judgment, such approval is necessary or in
 order to convey insurable title or is otherwise reasonably necessary under the circumstances to implement this Plan.

          (4) Debtor shall provide the Trustee with a copy of the closing settlement sheet within 24 hours of the
 Closing Date.

         (5) In the event that a sale of the Real Property has not been consummated by the expiration of the Sale
 Deadline:




 Part 8: Order of Distribution

The order of distribution of Plan payments will be as follows:

      Level 1:    Trustee Commissions*
      Level 2:    Domestic Support Obligations
      Level 3:    Adequate Protection Payments
      Level 4:    Debtor’s attorney’s fees
      Level 5:    Priority claims, pro rata
      Level 6:    Secured claims, pro rata
      Level 7:    Specially classified unsecured claims
      Level 8:    General unsecured claims
      Level 9:    Untimely filed general unsecured non-priority claims to which debtor has not objected

*Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee
not to exceed ten (10) percent.




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Part 9: Non Standard or Additional Plan Provisions

   Under Bankruptcy Rule 3015.1(e), Plan provisions set forth below in Part 9 are effective only if the applicable
   box     in Part 1 of this Plan is checked. Nonstandard or additional plan provisions placed elsewhere in the
   Plan are void.

   ✔ None. If “None” is checked, the rest of Part 9 need not be completed.
        Part 9




  By signing below, attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no
nonstandard or additional provisions other than those in Part 9 of the Plan.



        11/15/19                                           /s/Christopher G. Cassie
Date:
                                                           Attorney for Debtor(s)


        If Debtor(s) are unrepresented, they must sign below.



Date:
                                                           Debtor


Date:
                                                           Joint Debtor




                                                                                                       File this plan
Clear Form
                                                          8
